Case 6:04-cr-00128-GAP-G_K Document 529 Filed 08/09/06 Page 1 of 2 PageID 1791




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
    UNITED STATES OF AMERICA

    -vs-                                                              Case No. 6:04-cr-128-Orl-31JGG

    RACHEL LYNN OPSAHL (#12)


                               REPORT AND RECOMMENDATION
    TO THE UNITED STATES DISTRICT COURT

           Pursuant to Local Rule 6.01(c)(16), on August 9, 2006, I conducted the Final Probation

    Revocation Hearing of the Defendant on the Petition for Warrant or Summons for Offender Under

    Supervision filed June 1, 2006 by Probation Officer J. Curt Towers.

           In the Petition, Probation Officer J. Curt Towers alleges the Defendant was in violation of:

           !       Condition 2, Violation #1

           Which states that the defendant shall report to the probation officer as directed by the court
           or probation officer and shall submit a truthful and complete written report within the first five
           days of each month.

           The defendant failed to submit her written monthly reports by the fifth day of the month for
           the months of November, 2005; December 2005; January 2006; February 2006; and March
           2006. This is a violation of Condition Two of the Standard Conditions of Supervision, as
           set for the in the Judgment.


           The Defendant admitted violating the Conditions as set forth in the Petition for Warrant or

    Summons for Offender Under Supervision. The Government will move to dismiss violation #2 at

    sentencing.

           Accordingly, the undersigned finds that the Defendant has violated the terms of his supervised

    release and respectfully recommends that the Court enter an Order to Show Cause why his supervised

    release should not be revoked.
Case 6:04-cr-00128-GAP-G_K Document 529 Filed 08/09/06 Page 2 of 2 PageID 1792




             The Defendant has been restored to probation supervision pending sentencing.

            Failure to file written objections to the proposed findings and recommendations contained in

    this report within ten (10) days of the date of its filing shall bar an aggrieved party from attacking the

    factual findings on appeal.

            Recommended in Orlando, Florida on this 9th day of August, 2006.




       Copies furnished to:

       Presiding District Judge
       United States Attorney
       United States Probation Office
       Counsel for Defendant




                                                         -2-
